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                         UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF PENNSYLVANIA

RACHAEL WEBSTER, LAUREN PORSCH,
HOLLY LEDERER, SARA GATES, DONNA                     Case No. 17-cv-225-DSC
NEWMAN, CHRISTINE PROKOP,
LORRAINE SNODGRASS, ALISON
WHITEHEAD, MELISSA HILL, MAUREEN
MCGUINNESS, and AMANDA CLOSE,
individually and on behalf of all others similarly
situated,

                       Plaintiffs,

       v.

LLR, INC., d/b/a LuLaRoe

                       Defendant.

                    MEMORANDUM OF LAW IN SUPPORT OF
                PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION




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       Plaintiffs Rachael Webster, Lauren Porsch, Holly Lederer, Sara Gates, Donna Newman,

Christine Prokop, Lorraine Snodgrass, Alison Whitehead, Melissa Hill, Maureen McGuinness, and

Amanda Close (“Plaintiffs”), on behalf of themselves and all others similarly situated, by and

through their undersigned attorneys, submit this Memorandum of Law in Support of Plaintiffs’

Motion for Class Certification, stating as follows:

                                     I.      INTRODUCTION

       Defendant, LLR, Inc. d/b/a LuLaRoe (“LuLaRoe”), implemented and used a point-of-sale

(“POS”) system to charge a “tax” to consumers in certain states when no such tax was due on their

purchases of clothing. LuLaRoe knew its “tax” collection in these states was unlawful and actively

misled consumers about the legality of this practice. LuLaRoe’s fraudulent scheme converted

more than $8.3 million from class members between April 2016 and June 1, 2017, and spanned

over 2 million individual transactions, harming Plaintiffs and class members in precisely the same

manner.

       Plaintiffs reside in eleven (11) different states where clothing sales are not taxable. Each

Plaintiff asserts putative class claims on behalf of herself and similarly situated consumers in her

state, based on the following causes of action: (1) breach of constructive trust; (2) unjust

enrichment; (3) applicable consumer protection laws; and (4) conversion and misappropriation.

Plaintiffs seek the following relief: (1) actual damages in the form of a complete and accurate

disgorgement of all unlawfully collected taxes; (2) an accounting to ensure that the disgorgement

is in fact complete and accurate; and (3) all available statutory damages, punitive damages,

attorney fees, and costs.




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              II.     COMMON FACTS UNDERLYING PLAINTIFFS’ CLAIMS

        A.     Defendant LuLaRoe

       LuLaRoe is a multi-level marketing company that sells various clothing items to consumers

through over 75,000 independent contractors located in all 50 states. LuLaRoe is currently worth

approximately $2 billion1 and, as of March 2017, had $450 million of net assets over liabilities.

(See Exh. A,2 at LLR485:14-20). Its business model provides that LuLaRoe sell its products

wholesale to its Independent Fashion Retailers (“retailers” or “consultants”), who, in turn, sell

those products at retail to LuLaRoe’s end consumers. (See Exh. B, at 35:20-36:2).

        B. LuLaRoe’s Tax Practices Prior to April 2016

       Beginning in 2014, LuLaRoe came under pressure from authorities to remit tax on its

retailers’ sales. (See Exh. A, at LLR365:21-366:1; Exh. C, at ¶ 5; Exh. B, at 66:11-68:4). As a

result, LuLaRoe initiated a relationship with Utah-based POS vendor ControlPad to implement a

POS system called “Audrey.”3 (See id.). LuLaRoe introduced Audrey to retailers in or around

May or June 2015. (See Exh. B, at 46:6-9). According to LuLaRoe’s Chief Executive Officer,

Mark Stidham, ControlPad agreed to design Audrey to calculate tax based on a transaction’s “ship

to” address (i.e., the address of the end consumer—not the address of the LuLaRoe retailer

responsible for the sale).4 (See id. at 45:22-46:5).




1
        Forbes, This Retailer Went from Zero to $2 Billion in Four Years, October 19, 2017,
available at: https://www.forbes.com/sites/richardkestenbaum/2017/10/19/this-retailer-went-
from-zero-to-2-billion-in-four-years/#3fc8bd025fa3 (last accessed Dec. 6, 2017).
2
        All Exhibit references herein are references to the Exhibits attached to Plaintiffs’ Motion
for Class Certification.
3
        At all times relevant, LuLaRoe’s policy and procedures required that LuLaRoe retailers
“must” use the Audrey POS; and the retailers agree in their contract with LuLaRoe to follow the
LuLaRoe policies and procedures. (See Exh. B, at 61:21-62:8).
4
        Plaintiffs do not have a copy of this agreement with ControlPad. While Mr. Stidham
confirmed that LuLaRoe provided it to its counsel (See Exh. B, at 75:16-76:4), LuLaRoe’s counsel
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       Prior to April 2016, the Audrey system included a toggle-switch. LuLaRoe’s retailers could

use the toggle-switch to “turn off” tax on sales made into one of Plaintiffs’ state taxing

jurisdictions. By using the toggle-switch, retailers could prevent LuLaRoe’s POS system from

charging tax to the putative class members, consistent with members’ tax obligations. (See First

Amended Class Action Complaint, Doc. No. 53 at ¶ 34; compare LLR, Inc.’s Answer and

Affirmative Defenses, Doc. No. 59 at ⁋ 34).

        C. LuLaRoe Discovers it’s Overpaying Tax

       In January 2016, LuLaRoe’s Senior Tax Advisor undertook to reconcile LuLaRoe’s prior

tax filings. (See Exh. D, at 144:3-13). What he discovered was that, because of the way Audrey

was programmed, LuLaRoe was paying tax on all sales regardless of whether or not LuLaRoe had

actually charged tax to the end consumer (i.e., LuLaRoe was overpaying tax to states because it

was paying tax on the transactions shipped to class members, for whom no tax was owed). (See

Exh. D, at 23:13-18, 144: 3-145:18). LuLaRoe manufactured a “solution” to address this tax

dilemma: the 2016 Tax Policy (defined below), which was designed to shift the overpayments

caused by Audrey’s system failures from LuLaRoe to its own consumers.

        D. LuLaRoe’s Implementation of the 2016 Tax Policy

       In April 2016, LuLaRoe announced its new tax policy via webinar and conference call.5

(See Exh. B, at 57:4-14; Exh. D, at 69:19-70:7, 72:3-20). LuLaRoe announced that henceforth

Audrey would collect tax from end consumers based upon retailer location, across the board, on




has refused to provide the same to Plaintiffs’ counsel, which is currently the subject of a pending
Emergency Motion to Compel. (See Doc. No. 65).
5
        Mr. Stidham confirmed in his recent deposition that LuLaRoe still has this webinar (See
Exh. B, at 57:15-17) and it falls within the categories of documents that LuLaRoe agreed to
produce (and Plaintiffs requested). However, LuLaRoe’s counsel has not yet responded to
Plaintiffs’ counsel’s request to supplement LuLaRoe’s production with the webinar.
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every transaction, regardless of where the product was delivered (the “2016 Tax Policy”). (See

Exh. D, at 69:19-70:7; Exh. E, at LLR2926-28).

       Retailers had no choice but to use Audrey and comply with the new policy, which LuLaRoe

emailed to every retailer. (See Exh. D, at 72:3-74:7; Exh. E, at LLR2926-28). One retailer

summarized LuLaRoe’s mandate as follows:

       Sales Tax - LEAVE THE BOX CHECKED FOR SALES TAX IN ALL
       CIRCUMSTANCES FROM NOW ON - it will be calculated based on where you
       live. We can either start right now and charge you as consultants sales tax on the
       retail amount when you place your wholesale orders (a terrible solution that no one
       wants) - or, you all have to collect sales tax 100% of the time regardless of where
       it is being shipped. The Sales Tax will be calculated based on where YOU live and
       do business. This is NOT optional - you MUST leave the sales tax box checked -
       everyone NEEDS to charge Sales Tax based on the rate of the location where
       THEY DO BUSINESS on all purchases no matter what. The tax rate that your
       customer will be charged will be based on where YOU are. Keep the box checked.
       This is our process now - to remain in good standing with all the states. This is short
       term. In the long term, the software will get a new functionality and your customer
       will be charged tax based on the shipping destination in the future.

(See Exh. F). Thereafter, LuLaRoe altered the Audrey POS to prevent retailers from turning off

the tax feature—the toggle switch—when making sales delivered into other states, such as to class

members’ states. (See Amended Class Action Complaint, Doc. No. 53, at ¶ 36; compare LLR’s

Answer and Affirmative Defenses, Doc. No. 59, at ¶ 36; see also Exh. H). LuLaRoe retailers were

instructed not to change the tax rate calculated by Audrey, even for remote sales delivered to other

states where clothing purchases are not taxable. (See Exh. D, at 71:8-22).

       As a result of LuLaRoe’s new policy and the change in Audrey’s functionality, LuLaRoe

automatically and systematically charged every consumer tax, even if consumers were not

obligated to pay such tax, whenever LuLaRoe’s retailor responsible for the sale was located in a

state that taxes clothing. By way of example, if a consumer from Pennsylvania purchased a

LuLaRoe product online from a consultant in a state with tax on clothes, such as Ohio, and had



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that product shipped into Pennsylvania, LuLaRoe improperly charged the Pennsylvania resident

an Ohio tax on that purchase. (See Exh. D, at 85:12-19, 146:8-19). If that same Pennsylvania

consumer also purchased from a retailer in Washington and Hawaii, LuLaRoe charged a

Washington and Hawaii tax, respectively, to the consumer. (See id. at 148:11-149:4).

        E. LuLaRoe Lies to its Retailers Regarding the 2016 Tax Policy

       LuLaRoe’s retailers are the front line point of communication with LuLaRoe’s end

consumers.6 (See Exh. B, at 36:16-19; Exh. D, at 96:3-20). After it enacted the unlawful 2016 Tax

Policy, LuLaRoe issued a sales tax memorandum and “white paper” memorandum to all of its

retailers, which was authored by Terrel Transtrum, a “licensed tax attorney with law degrees from

University of Idaho (J.D.) and University of Miami (LL.M. – Masters of Law in Taxation).” (See

Exh. G; Exh. H). In the “white paper,” LuLaRoe told its retailers that its new policy, which

required that tax be charged based upon the location of the retailer, was proper and legal. (See

id.). The “white paper” claimed it was proper to collect tax based on retailer address, because it is

as if the remote, online consumer is purchasing from a retailer’s home.7 (See id.). As repeatedly

admitted by LuLaRoe’s own officers, this information was false. (See Section II(F), below; see

also, e.g., Exh. T, at 7:21-8:11, 32:6-11, 123:6-124:6 (LuLaRoe’s “Ethics Specialist,” who was

part of LuLaRoe’s management team, admits, “I don’t think it was ethical” to collect tax from the

class members when no tax should have been charged)).




6
       If a consumer made a complaint to LuLaRoe, about tax or otherwise, LuLaRoe’s practice
was to direct the end consumer back to the LuLaRoe retailers. (See Exh. D, at 95:25-96:9).
7
       The only information provided to LuLaRoe’s retailers about the 2016 Tax Policy was the
announcement itself, the sales tax memorandum, and the white paper. (See Exh. D, at 96:21-97:3).
Despite having retailers dedicated as “trainers” who are responsible to train other retailers,
including on LuLaRoe tax practices, LuLaRoe’s trainers received no additional information on
LuLaRoe’s 2016 Tax Policy. (See Exh. B, at 33:24-34:11).
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        LuLaRoe’s intended result is evident. LuLaRoe expected that the false information set

forth in the white paper would be disseminated to its end consumers:

                Q:      Did LuLaRoe expect that the retailers would let the customers know
                        that sales tax was charged based upon consultant location?
                A:      Yes. When we sent the white paper or the sales tax memo[randum],
                        when we sent all that information, it was to the retailers, and it was
                        for their being able to explain how the system worked.
                Q:      Okay. So you expected that the end consumers would know that
                        policy?
                A:      No. We expected the retailers to know that to explain it to the end
                        customers.
                Q:      Okay. So you did expect the retailers to tell the end customer that?
                A:      Yes.

(See Exh. D, at 110:25-111:13). LuLaRoe also knew and expected that, if questioned, retailers

would send the sales tax memorandum to end customers. (See id. at 107:23-108:4). Indeed,

LuLaRoe itself sent the sales tax memorandum to end consumers who questioned LuLaRoe about

the validity of its tax policy. (See Exh. I; Exh. D, at 107:10-15).

         F. LuLaRoe Admits Knowing that its Tax Procedures were Unlawful (and the
            White Paper, False) Yet Continued its Practices

        Within a month of LuLaRoe issuing the fraudulent advice in the sales tax memorandum

and white paper to its retailers (and, therefore, its end consumers) the Attorney General of the

Commonwealth of Pennsylvania transmitted a consumer complaint to LuLaRoe, dated May 16,

2016, challenging LuLaRoe’s illegal tax practices. (See Exh. J). On June 28, 2016, LuLaRoe

responded to the Attorney General, unequivocally admitting that LuLaRoe knew its 2016 Tax

Policy caused people in states that did not have a sales tax on the clothing that LuLaRoe sells

to be overcharged. (See Exh. K). Despite this admission, LuLaRoe did not discontinue the

improper 2016 Tax Policy or reinstitute the ability for retailers to remove tax charges on purchases

sold outside of their state.

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       By May 31, 2016, LuLaRoe had also received a notice from the State of Minnesota Office

of the Attorney General requesting that LuLaRoe “review and correct its systems to be in

compliance with Minnesota sales tax law” and “determine the number of other Minnesotans who

need to be refunded for paying sales tax.” (See Exh. L). Yet again, LuLaRoe acknowledged its

fault but did not discontinue its systematic practice of overcharging tax to class members. (See

Exh. M).

       At its 30(b)(6) deposition, LuLaRoe admitted that when it enacted its 2016 Tax Policy it

was aware it would result in customers being incorrectly charged tax. (See Exh. D, at 92:13-

93:13). LuLaRoe’s CEO, Mr. Stidham, admitted under oath in an unrelated Utah proceeding

brought by its former payment processing vendor that LuLaRoe knew this class action was coming.

(See Exh. A, at LLR396:20-397:8). Despite these acknowledgements and after admitting to two

different states’ Attorney Generals that its tax practices were unlawful, LuLaRoe continued to

unlawfully surcharge its consumers until June 1, 2017 - months after this suit was filed.8 (See Exh.

D, at 93:20-24, 94:10-12). LuLaRoe never retracted its statements that the 2016 Tax Policy was

proper and lawful, concealing its knowledge from retailers and, by extension, its end consumers.

LuLaRoe also continued to disseminate the false information in the sales tax memorandum and

white paper up until the initial Complaint was filed in this action. (See, e.g., Exh. N; Exh. I).

        G. The Plaintiffs’ and Class Members’ Experiences

       LuLaRoe’s conduct was uniform to all Plaintiffs and all class members. Plaintiffs and the

class members all purchased LuLaRoe clothing from retailers outside of their state to be shipped

into their state. (See Exh. D, at 155:7-157:5). Each Plaintiff and every class member received an



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        According to LuLaRoe, by June 1, 2017, its retailers were no longer operating on Audrey
and the new POS system purportedly does not overcharge tax to the class members. (See Exh. D,
at 94:10-12).
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invoice from the retailer that was generated by LuLaRoe’s Audrey system. (See id.; Exh. O, at ⁋

7; Amended Class Action Complaint, Doc. No. 53, at ¶¶ 42-46). The invoice represented that

LuLaRoe collected a “tax” on the purchase. (See id.). Each Plaintiff and every class member paid

the invoice that implicitly represented they were paying a proper sales/use tax when, in fact, no

such tax was owed by the Plaintiffs and class members (see id.) – a fact readily known by LuLaRoe

(see Section II(F), above). If a customer questioned the tax to LuLaRoe, LuLaRoe directed the

inquiry to the retailers to perpetuate the deceptive practice. (See Exh. D, at 95:25-96:9). In turn,

the retailers were trained to uniformly inform the customer of the 2016 Tax Policy – set forth in

the “white paper” and sales tax memorandum – wrongly claiming that LuLaRoe’s deceptive

practice was lawful (i.e., that the tax was properly assessed based on consultant location). (See

Section II(E), above).

       LuLaRoe has identified the transactions for which it incorrectly charged a non-existent

“sales tax” to its end consumers in the class states and was able to ascertain the identity of the end

consumers for those transactions. (See Exh. D, at 123:7-124:25). The harm to the class is

consistent because of LuLaRoe’s systematic, fraudulent conduct:

           Q:   Have you looked into the purchases of each of the named plaintiffs?
           A:   Yes.
           Q:   Do you agree that each were charged sales tax on at least one purchase?
           A:   Yes.
           Q:   And consistent with what we talked about, is it LuLaRoe’s position that the
                tax that was charged to the 11 named plaintiffs was based on the taxing
                jurisdiction of the consultant they purchased from?
           A:   Yes.
           Q:   And the sales tax that LuLaRoe collected from each of the named plaintiffs
                was paid into the taxing jurisdiction which the consultant resides?
           A:   Yes.
           Q:   And not into the jurisdiction where the 11 – any of the jurisdictions where
                the 11 named plaintiffs live”
           A:   Yes.
           Q:   Okay. And some of the named plaintiffs bought from consultants in
                multiple states that charge sales tax; is that right?

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             A: They just bought from multiple consultants from multiple states.
             Q: Yes.
             A: Some of them had sales tax. Some of them did not.
             ...
             Q: Okay. And if, for example – and I don’t know the correct number, but say
                 [plaintiff Rachael Webster] purchased from consultants in five different
                 states that charged sales tax, it’s correct that the money that was collected
                 from Ms. Webster would have been paid into those five different states?
             A: Yes.
             Q: And that answer would be the same for each of the plaintiffs?
             A: Yes.
             Q: And would that answer be the same, then, for each of the end users that
                 received LuLaRoe products in one of the 11 jurisdictions named in the
                 amended complaints when they purchased from a consultant in a state with
                 sales tax?
             A: Yes. That was based on what our system could do at the time.

(See id., at 155:7-157:5).

       When asked the total number of sales and total dollar amount charged to end consumers in

“tax” when a product was delivered into a jurisdiction that does not authorize a collection of tax

on the clothing that LuLaRoe sells, the magnitude of LuLaRoe’s unlawful and deceptive conduct

was clear:

                                        Total
                      Jurisdiction      Transactions        Total Charged

                      Alaska            72,503               $    255,483.35

                      New York          104,144              $    329,922.83

                      Delaware          72,944               $    232,585.83

                      Massachusetts     314,435              $ 1,002,941.12

                      Minnesota         304,617              $ 1,018,459.57

                      Montana           52,129               $    187,333.33
                      New
                      Hampshire         93,034               $    297,021.67

                      New Jersey        358,268              $ 1,154,229.27


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                     Oregon            200,450              $    694,636.75

                     Pennsylvania      955,507              $ 3,003,807.92

                     Vermont           53,699               $    170,180.32

                     TOTAL             2,581,730            $ 8,346,601.96


(See Exh. P, at Interrogatory Nos. 1 and 2).9

       From April 2016 through June 1, 2017, LuLaRoe overcharged the class members more

than $8.3 million in unlawful tax. (See id.)

        H. LuLaRoe’s Improper Attempt to “Pick Off” the Plaintiffs and Putative Class
           Members

       From April 2016 until a complaint was filed in this action, LuLaRoe stood by its decision

to systematically and fraudulently surcharge its customers in the guise of “tax” going so far as to

publish a white paper alleging that its improper conduct was lawful. Once its fraudulent practices

became the subject of this class action (and media attention), however, LuLaRoe changed its tune.

In a statement published on February 27, 2017, (after the filing of the complaint in this action) a

LuLaRoe spokesperson told Forbes Magazine:




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        On December 5, 2017—the literal eve of Plaintiffs’ Motion for Class Certification
deadline—LuLaRoe served a Supplemental Response to Plaintiffs’ First Set of Interrogatories
Directed to Defendant. In addition to this damages chart, Defendant’s Supplemental Response
identified another 9,448 transactions, for which LuLaRoe overcharged class members $52,646.27
in the guise of “sales tax.” (See Exh. Q). LuLaRoe claims to have identified these additional
charges on November 21, 2017, which is interesting in light of its repeated claims to have already
refunded class members any money they’re owed. (See Defendant’s October 10, 2017
Memorandum of Law In Opposition to Plaintiffs’ Emergency Motion To Compel, Doc. No. 68
(“Indeed, LLR candidly admits Audrey’s flaws and the over collection of sales taxes under its
2016 sales tax policy. [] For this reason, LLR undertook to voluntarily refund all over-collected
sales taxes to consumers residing in taxing jurisdictions that do not charge sales taxes on clothing,
and has issued refunds to all credit and debit cards used for these purchases, despite Plaintiff’s
attempt to enjoin LLR from issuing these refunds.”)).
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        We have been aware of sporadic problems with our former payments vendor, which
        have increased over the past year with the fast growth of our company.
        …
        The issue involved ‘our former payments vendor, which had a technology system
        failure that misidentified the accurate location of certain individuals.’ Since that
        time, according to a company spokesperson, ‘[w]e have immediately reimbursed
        any individual whom we could identify as having been improperly charged sales
        tax.’ Further, the company says ‘[w]e are proactively working to ensure that all
        affected individuals are refunded.’

See Forbes, Popular Fashion Line LuLaRoe Sued Over Sales Tax Charges, Feb 27, 2017, available

at   https://www.forbes.com/sites/kellyphillipserb/2017/02/27/popular-fashion-line-lularoe-sued-

for-overcharging-customers-sales-tax/#5f4aeac7176d (last accessed Dec. 6, 2017).

        As part of an apparent effort to put the genie back in the bottle regarding its unlawful

collection of taxes at issue in this lawsuit, LuLaRoe engaged in a confusing, ad hoc, refund scheme

in an effort to escape responsibility for its bad acts. (See Motion to Enjoin Communication with

Class and Brief in Support, Doc. Nos. 11 and 12). While these efforts will presumably be framed

by Defendant as a belated effort to “do the right thing” by refunding the unlawful charges,

LuLaRoe’s refund effort – undertaken after it was caught with its hand in the cookie jar – does not

save it from liability and, instead, is a concession of fault.

        LuLaRoe claims it had a “plan” to refund the improper charges to all class members at

some unknown future point, but did not actually undertake to make refunds to the class members

until after the Complaint was filed.10 (See Exh. B, at 72:22-74:7; Exh. O, at ¶ 27). Shockingly,



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        Despite its allegation of having a “plan” to refund the charges prior to the Complaint being
filed, LuLaRoe has refused to produce any documents related to its purported “plan.” (See Motion
to Compel, Exhibit E, Doc. No. 65-5, at p. 4 (Letter from LuLaRoe’s counsel claiming that
LuLaRoe’s “plan” to refund overcharged taxes is not relevant to class certification)). At the urging
of LuLaRoe’s counsel, Plaintiffs’ counsel asked deposition questions about the “plan” under a
reservation of rights to challenge any use of the “plan” by LuLaRoe as a defense to class
certification in light of its refusal to produce documents related to the same.
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LuLaRoe takes the position that the refund “plan” was in place as of April 2016 – at the same time

it created and distributed the false white paper and sales tax memorandum to its retailers. (Exh.

B, at 72:22-74:7). Hence, LuLaRoe unequivocally knew when it instituted its 2016 Tax Policy

that it was not in compliance with the laws and that the operation and effect of the policy would

cause harm to its end customers. (See Exh. D, at 92:23-93:5). Moreover, LuLaRoe actively hid

this knowledge until after it was sued in this class action. (See Exh. D, at 112:22-113:4 (LuLaRoe

admitted that the purported “plan” was never announced to retailers or end customers before the

Complaint was filed); see also Exh. B, at 73:19-74:7; see also Exhs. I and N (LuLaRoe continued

to disseminate the sales tax memorandum to retailers and customers up until February 2017, when

the Complaint was filed)).

       LuLaRoe manufactured its own “solution” to address its tax dilemma – the 2016 Tax Policy

– and, by doing so, perpetrated a fraud on its consumers. Its suggestion in many pleadings to date

that its attempt to manufacture its own “remedy” to that fraud somehow excuses its egregious

conduct is disingenuous.     LuLaRoe’s “remedy” provided class members with no basis for

ascertaining what the amount of the overcharge was or whether the entire amount of the unlawful

charge was refunded, nor did it compensate Plaintiffs or the class members for the full amount of

their damages under the class claims (i.e, interest, statutory, and/or punitive damages). LuLaRoe

admits that it refunded only the amounts it improperly charged without any interest or other

damages added. (See Exh. D, at 132:2-6, 133:1-134:6). Indeed, while LuLaRoe alleges that it has

refunded the $8.3 million it overcharged, LuLaRoe has suffered absolutely no consequence for its

knowing and unlawful conduct towards its end consumers because it recovered all of those funds

from the various taxing jurisdictions. (See Exh. D, at 157:6-158:6) (confirming that the tax issue

was a “zero-sum” game for LuLaRoe because it recouped all of the overcharges from the taxing



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jurisdictions that it paid them into). This scenario is the exact reason why states have consumer

protection statutes. LuLaRoe’s belated refunds do nothing to defeat the class claims or class

certification.

         I. LuLaRoe Benefited From the Use of Audrey and the 2016 Tax Policy

        In pleadings to date, LuLaRoe also appears to claim that it did not benefit from its bad acts

because it placed any unlawful “tax” it collected into a sequestered account, and paid that money

to the retailers’ (notably, not the consumers’) taxing authority. (See, e.g., Exh. O, at ¶¶ 8-9). Such

position ignores that most of the causes of action alleged herein are intended to protect the party

harmed, not focus on whether the bad actor benefitted from its deceptive conduct. LuLaRoe’s

position, however, demonstrates its continued willingness to misrepresent the facts to hide the

substantial benefit behind its systematic consumer fraud.

        As stated above, LuLaRoe required it retailers to use Audrey – the POS system that it had

programmed to systematically and unlawfully collect tax. (See footnote 2, above). For its retailers’

use of Audrey, LuLaRoe received incentive payments from the payment processing vendor,

totaling approximately $5.6 million in 2016 and $1.9 million in just the first two months of 2017.

(See Exh. B, at 68:8-25). At the same time that LuLaRoe overcharged consumers over $8 million,

LuLaRoe garnered $7.5 million in processing fees for the consumers’ use of the Audrey POS

system to process the consumers’ payments.

        In addition, LuLaRoe also received certain tax benefits. Many taxing authorities provide

incentives to businesses for collecting sales and use tax from consumers. Since 2016, LuLaRoe

has received and retained at least $676,803.43 of the fraudulent tax that it collected. (See Exh. B,

at 71:6-72:4).

        Prior to implementing its unlawful 2016 Tax Policy, LuLaRoe was overpaying its tax

obligations to taxing authorities on all purchases made by class members located in jurisdictions
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which do not charge tax on clothing (when no tax was in fact charged because the toggle switch

was used). (See Section II(C), above). LuLaRoe was indiscriminately paying tax because the

information obtained from LuLaRoe’s POS system did not distinguish between retailers’ in-state

sales and out of state sales. (See id.; Exh. D, at 144:3-145:18). By implementing its 2016 Tax

Policy, LuLaRoe passed the costs associated with the shortcomings of its POS system and its

indiscriminate tax payments onto its end consumers, including the class members. (See, e.g., Exh.

R (“the temporary measure has been put into place to avoid audit scrutiny from the states as we

continue to report sales and write supplementary checks to cover shortages when appropriate

reporting is not readily available.”)). LuLaRoe’s fraudulent 2016 Tax Policy was implemented at

the expense of the class and was patently designed to save LuLaRoe from paying both: (i) the

immediate costs associated with fixing the systemic flaws of its POS System; and (ii) its tax

overpayments to the taxing authorities caused by Audrey’s failures. Any suggestion by LuLaRoe

that it did not receive a benefit from its deceptive acts is unsupportable.

                                   III.    PROPOSED CLASSES

       Plaintiffs request that the Court certify the following Classes pursuant to Federal Rule of

Civil Procedure 23(b)(3):

               Pennsylvania Class: All persons who were assessed tax on clothing
               purchases processed through Audrey, and whose purchases were or will be
               delivered into Pennsylvania.

               New York Class: All persons who were assessed tax on clothing purchases
               processed through Audrey, and whose purchases were or will be delivered
               into New York.

               Minnesota Class: All persons who were assessed tax on clothing
               purchases processed through Audrey, and whose purchases were or will be
               delivered into Minnesota.




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               New Hampshire Class: All persons who were assessed tax on clothing
               purchases processed through Audrey, and whose purchases were or will be
               delivered into New Hampshire.

               Delaware Class: All persons who were assessed tax on clothing purchases
               processed through Audrey, and whose purchases were or will be delivered
               into Delaware.

               Alaska Class: All persons who were assessed tax on clothing purchases
               processed through Audrey, and whose purchases were or will be delivered
               into Alaska.

               Oregon Class: All persons who were assessed tax on clothing purchases
               processed through Audrey, and whose purchases were or will be delivered
               into Oregon.

               Montana Class: All persons who were assessed tax on clothing purchases
               processed through Audrey, and whose purchases were or will be delivered
               into Montana.

               New Jersey Class: All persons who were assessed tax on clothing
               purchases processed through Audrey, and whose purchases were or will be
               delivered into New Jersey.

               Massachusetts Class: All persons who were assessed tax on clothing
               purchases processed through Audrey, and whose purchases were or will be
               delivered into Massachusetts.

               Vermont Class: All persons who were assessed tax on clothing purchases
               processed through Audrey, and whose purchases were or will be delivered
               into Vermont.

       Excluded from the classes are Defendant, as well as its past and present officers,

employees, agents or affiliates, any judge who presides over this action, and any attorneys who

enter their appearance in this action. Also excluded from the Alaska and New York classes are

any persons who live in a locality where the locality assesses a use tax on the clothing that

LuLaRoe sells. Plaintiffs seek to certify these classes under each class’s state’s respective laws.




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                                          IV.     ARGUMENT

        A. Rule 23(a) Prerequisites are Established

        Class actions provide an efficient means of resolving claims arising from a systematic

scheme to defraud consumers because they enable courts to avoid thousands of individual trials

with overlap in scope, issues, testimony, and experts. Under Fed R. Civ. P. 23(a), a movant must

demonstrate that: (1) the class is so numerous that joinder of all members is impracticable; (2)

there are questions of law or fact common to the class; (3) the claims or defenses of the

representative parties are typical of the claims or defenses of the class; and (4) the representative

parties will fairly and adequately protect the interests of the class.11 Fed. R. Civ. P. 23(a). As

detailed below, all of the Rule 23(a) criteria are satisfied here.

                1.      Numerosity

        To establish numerosity the class must be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). Numerosity is presumed when the class is shown to

exceed 40 members. In re Modafinil Antitrust Litig., 837 F.2d 238, 250 (3d Cir. 2016).

        Here, numerosity is satisfied for each of the classes. According to LuLaRoe, it charged

“sales tax” on 2.5 million transactions shipped into the class states, ranging by state from a low of




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        Although not a formal requirement under Rule 23(a), “[a]n essential prerequisite of a class
action, at least with respect to actions under Rule 23(b)(3), is that the class must be currently and
readily ascertainable based on objective criteria.” In re Community Bank of N. Virginia Mortg.
Lending Practices Litig. (“CBNV III”), 795 F.3d 380, 396 (3d Cir. 2015). Ascertainability
requires class members to be identifiable “without extensive and individualized fact-finding or
mini-trials.” Id. “[I]f a class cannot be ascertained in an economical and administratively feasible
manner, significant benefits of a class action are lost.” Id. Here, LuLaRoe admitted in its 30(b)(6)
deposition that all class members are easily ascertainable and it has already been able to ascertain
the members of the class. Since these records can be used to easily identify each class member,
ascertainability is met in this case. See id. at 397 (finding ascertainability where the defendant
“possesse[d] all of the relevant bank records needed to identify the putative class members”).


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52,379 transactions (Montana) to a high of 958,525 transactions (Pennsylvania), for total

overcharges of more than $8.3 million. While this data reflects transactions rather than purchasers,

it can be inferred that each class has over 40 class members that were charged a non-existent tax.

See Heinzl v. Cracker Barrel Old Country Stores, Inc., No. 14-cv-1455, 2016 WL 2347367, at *19

(W.D. Pa. Jan. 27, 2016), report and recommendation adopted, No. 14-cv-1455, 2016 WL

1761963 (W.D. Pa. Apr. 29, 2016), Fed. R. Civ. P. 23(f) appeal denied, No. 16-8042 (3d Cir. Aug.

12, 2016) (relying on common sense to find numerosity satisfied).

               2.      Commonality of Issues

       To establish commonality, there must be “questions of law or fact common to the class.”

Fed. R. Civ. P. 23(a)(2). “A putative class satisfies Rule 23(a)’s commonality requirement if the

named plaintiffs share at least one question of fact or law with the grievances of the prospective

class.” CBNV III, 795 F.3d 380 at 397. “[T]he focus of the commonality inquiry is not on the

strength of each class member’s claims but instead on whether the defendant’s conduct was

common as to all of the class members.” Id. This element is satisfied when a claim arises from

the same “event or practice or course of conduct that gives rise to the claims of other class

members.” Mullins v. Direct Digital, LLC, No. 13-cv-1829, 2014 WL 5461903, 2 (N.D. Ill. Sept.

30, 2014).

       Here, LuLaRoe uniformly overcharged Plaintiffs and all class members. It employed a

systematic scheme that improperly charged tax based on the retailer’s taxing jurisdiction,

regardless of where the purchaser was located. The conduct of LuLaRoe with respect to the named

Plaintiffs and the class members that each Plaintiff seeks to represent was the same. Each Plaintiff

and each class member purchased LuLaRoe clothing from an out of state retailer and was charged

a tax based on the retailer’s tax rate, rather than their own jurisdiction’s use tax rate (which, for



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the class, is zero). Thus, while only one question of law or fact is required, there are many

questions of law and fact common to the proposed classes, including:

          Whether Defendant collected funds from Plaintiffs and individual class members under
           a nonexistent tax;

          Whether the law authorizes these converted funds;

          Whether Defendant lacks authority under the law to collect funds under a nonexistent
           tax;

          Whether Defendant’s illegal and unauthorized collections caused its unjust enrichment;

          Whether Defendant’s conduct was fraudulent;

          Whether Defendant’s conduct was deceptive and likely to mislead consumers; and

          Whether Defendant converted funds the lawfully belonged to Plaintiffs and the class
           members.

(See Amended Class Action Complaint, Doc. No. 53, at ¶ 66). Additional questions of law and

fact common to the proposed classes, include:

          Whether Defendant charged Plaintiffs and class members tax based upon the location
           of the consultant or retailer who shipped the goods sold;

          Whether Defendant knew that its tax policy and/or POS system overcharged Plaintiffs
           and class members a tax they did not owe;

          Whether Defendant redesigned its point of sale system to force Plaintiffs and class
           members to pay a tax they did not owe;

          Whether Defendant redesigned its POS system such with knowledge that such redesign
           would force Plaintiffs and class members to pay a tax they did not owe; and

          The proper method by which to measure damages to which the classes are entitled.

       The charges at issue are either unlawful to all class members, or as to none of them. Once

Plaintiffs and the Classes establish that LuLaRoe’s conduct was illegal, the Plaintiffs and the

Classes are entitled to damages. Conversely, if they do not establish liability, then none are entitled

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to recovery. Put differently, injury to Plaintiffs and their respective class is capable of being proven

(or disproven) class-wide. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349 (2011) (holding

that commonality is satisfied where common questions generate common answers ‘apt to drive the

resolution of the litigation”). As a result, the commonality requirement of Rule 23(a) is satisfied

here.

                3.      Typicality of Claims

        To establish typicality, “the claims or defenses of the representatives parties [must be]

typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). Typicality is established

“where there is a strong similarity of legal theories’ or where the claim arises from the same

practice or course of conduct. In re Natl. Football League Players Concussion Injury Litig., 821

F.3d 410, 428 (3d Cir. 2016), cert. denied sub nom., Armstrong v. Natl. Football League, 137 S.

Ct. 607 (2016). “[M]inor variations in the fact patterns underlying individual claims” are not

sufficient to defeat a class, especially where, as here, plaintiffs challenge a broadly applicable

policy or practice.” Robidoux v. Celani, 987 F.2d 931, 936-37 (2d. Cir. 1993).

        Similar to commonality, typicality is established here because Plaintiff’s claims arise out

of the same practice as the claims of each class member: Defendant’s uniform overcharge of non-

existent taxes. Since this case is “challenging the same unlawful conduct which affects both the

named plaintiffs and the putative class,” typicality is satisfied. In re Natl. Football League, 821

F.3d at 428; see also Langan v. Johnson & Johnson Consumer Cos., Inc., Nos. 3:13-cv-1470 and

1471, 2017 WL 985640, *12 (D. Conn. Mar. 13, 2017).

            4. Plaintiffs and Counsel Can Adequately Represent The Interests Of The
               Classes

        To establish adequacy, the representative parties and their counsel must “fairly and

adequately protect the interests of the class. Fed. R. Civ. P. 23(a)(4). The adequacy requirement

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“tests the qualifications of class counsel and the class representatives,” and “also aims to root out

conflicts of interest within the class to ensure that all class members are fairly represented in the

negotiations.” In re Natl. Football League, 821 F.3d at 428. Here, the named Plaintiffs are

committed to vigorously litigating this matter and protecting the interests of the putative class

members.12 There has already been significant litigation activity and the Plaintiffs have already

demonstrated a commitment to the aggressive prosecution of the action on behalf of the class. Each

Plaintiff has produced documents responsive to requests from Defendant, has been in contact with

their attorneys to remain up to date on the litigation, reviewed responses to discovery requests and

verified the same. Indeed, ten of the named Plaintiffs have been deposed by LuLaRoe’s counsel,

including a number of Plaintiffs who have traveled overnight to attend their deposition. Moreover,

Plaintiffs have retained counsel who are experienced in class litigation and who have routinely

been appointed as lead counsel in significant class cases, including cases within this District. (See

Exh. U (Declaration of R. Bruce Carlson)). For these reasons, the Court should readily conclude

that Plaintiffs and their counsel will adequately and fairly represented the interests of the Class.




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        One of the Plaintiffs, Christine Prokop, who represents the Alaska class, has asked that
another class representative be substituted for her because of certain personal issues she is facing
that makes it difficult for her to continue being active in this litigation. (See Motion for
Substitution of Class Representative and Brief is Support, Doc. Nos. 73 and 74). This Court has
wide discretion related to substitution of class representatives and may substitute a class
representative in its entry of certification. See, e.g., In re Natn’l Australia Bank Securities Litg.,
No. 03 Civ. 6537, 2006 WL 3844463, *4 (S.D. N.Y. Nov. 8, 2006) (permitting substitution of lead
plaintiff in class action after dismissal of all named plaintiffs from the action on the basis of
adequacy); In re Wellbutrin XL Antitrust Litg., 282 F.R.D. 126, 139 (E.D. Pa. 2011) (quoting
Manual for Complex Litigation (Fourth) § 21.26) (“Courts generally allow class counsel time to
make reasonable efforts to recruit and identify a new representative who meets the Rule 23(a)
requirements. The Court may permit intervention by a new representative or may simply designate
that person as a class representative in the order granting class certification.”); Shankroff v. Advest,
Inc., 112 F.R.D. 190, 194 (S.D. N.Y. 1986) (granting class certification subject to an order to
propose at least one plaintiff to proceed as representative of the class because class representative
was held to be inadequate).
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       B. Rule 23(b)(3) Prerequisites are Established

       In addition to satisfying the elements of Rule 23(a), a party seeking class certification must

also satisfy one of the subsections of Rule 23(b). As noted above, Plaintiffs seek certification

under Rule 23(b)(3). Under Fed. R. Civ. P. 23(b)(3), a movant must demonstrate that the questions

of law or fact common to the class members predominate over any questions affecting only

individual members, and that a class action is superior to other available methods for fairly and

efficiently adjudicating the controversy. As demonstrated below, Plaintiffs’ proposed classes

readily satisfy Rule 23(b)(3)’s requirements.

           1. Predominance

       To establish predominance, the “questions of law or fact common to class members [must]

predominate over any questions affecting only individual members[.]” Fed. R. Civ. P. 23(b)(3).

The “predominance inquiry tests whether proposed classes are sufficiently cohesive to warrant

adjudication by representation.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016);

CBNV III, 795 F.3d at 399 (same). “When one or more of the central issues in the action are

common to the class and can be said to predominate, the action may be considered proper under

Rule 23(b)(3) even though other important matters will have to be tried separately, such as

damages or some affirmative defenses peculiar to some individual class members.” Tyson Foods,

136 S. Ct. at 1045; CBNV III, 795 F.3d at 399 (“If proof of the essential elements of the cause of

action requires individual treatment, then class certification is unsuitable.”) (emphasis in original);

see also In re Checking Account Overdraft Litig., 307 F.R.D. 630, 645 (S.D. Fla. 2015) (“It is not

necessary that all questions of law or fact be common; only some questions must be common, and

they must predominate over individual questions.”).




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       Third Circuit precedent provides that “the focus of the predominance inquiry is on whether

the defendant’s conduct was common as to all of the class members, and whether all of the class

members were harmed by the defendant’s conduct.” Sullivan v. DB Investments, Inc., 667 F.3d

273, 298 (3d Cir. 2011). It is well established that predominance is satisfied where the claims of

a plaintiff and the putative class members “arise from the same alleged fraudulent scheme.” CBNV

III, 795 F.3d at 400; In re Community Bank of N. Virginia Mortg. Lending Practices Litig. (“CBNV

I”), 418 F.3d 277, 309 (3d Cir. 2005); see also Tyson Foods, 136 S. Ct. at 1045-49; Reyes v.

Netdeposit, LLC, 802 F.3d 469, 489 (3d Cir. 2015); see also Amchem Prod., Inc. v. Windsor, 521

U.S. 591, 625 (1997) (“Predominance is a test readily met in certain cases alleging consumer or

securities fraud or violations of the antitrust laws.”); see also see also In re Checking Account

Overdraft Litig., 281 F.R.D. at 676 (same).

       A Rule 23(b)(3) certification ruling is not intended “to adjudicate the case; rather, it is to

select the method best suited to adjudication of the controversy fairly and efficiently.” In re

Mushroom Direct Purchaser Antitrust Litig., 319 F.R.D. 158, 187 (E.D. Pa. 2016), reconsideration

denied, No. 06-0620, 2017 WL 696983 (E.D. Pa. Feb. 22, 2017). Certification under various state

laws is proper when, as here, the “varying state laws can be grouped by shared elements and

applied in a unit in such a way that the litigation class is manageable.” In re Warfarin Sodium

Antitrust Litig., 391 F.3d 516, 529 (3d Cir. 2004).

                   a. State Law Variations in Classes

       “Variations in state law do not necessarily defeat predominance.” Sullivan, 667 F.3d at

297 (“predominance is not considered deficient merely ‘because claims were subject to the

[varying] laws of fifty states’”). “‘Predominance under Rule 23(b)(3) cannot be reduced to a

mechanical, single-issue test’; rather, ‘[a]s long as a sufficient constellation of common issues



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binds class members together, variations in the sources and application’ of applicable laws will

not foreclose class certification.” Id. at 301. The Third Circuit explained in In re Prudential Ins.

Co. Am. Sales Practice Litig. Agent Actions:

        Courts have expressed a willingness to certify nationwide classes on the ground
        that relatively minor differences in state law could be overcome at trial by grouping
        similar state laws together and applying them as a unit. This Court has affirmed a
        class certification based on a “creditable showing, which apparently satisfied the
        district court, that class certification [did] not present insuperable obstacles”
        relating to variances in state law. In this instance Krell has failed to demonstrate
        that the differences in applicable state law were sufficient to foreclose a similar
        approach. In support of class certification, plaintiffs compiled “a series of charts
        setting forth comprehensive analyses of the various states’ laws potentially
        applicable to their common law claims.” The court concluded that the “elements of
        these common law claims are substantially similar and any differences fall into a
        limited number of predictable patterns.”

148 F.3d 283, 315 (3d Cir. 1998) (certifying a nationwide class for fraud and deceptive conduct

claims arising out of defendant’s deceptive sales practice that affected over 8 million claimants

throughout the country). Although class members may possess differing remedies based on

varying state statutes, where the actions asserted are not sufficiently anomalous, class certification

is proper. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022–23 (9th Cir. 1998) (certifying a

nationwide settlement class and holding “the idiosyncratic differences between state consumer

protection laws are not sufficiently substantive to predominate over the shared claims”); see also

Langan, Nos. 3:13-cv-1470 and 1471, 2017 WL 985640 at *14 (certifying a consumer protection

litigation class action under 17 states’ statutes).

                    b. Plaintiffs’ consumer protection claims satisfy the predominance
                       inquiry

        Plaintiffs seek to pursue consumer protection claims under the laws of Alaska, Delaware,

Minnesota, Montana, New Hampshire, New Jersey, New York, Oregon, Pennsylvania, and

Vermont. “Predominance is ‘a test readily met in certain cases alleging consumer . . . fraud’



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particularly where, as here, uniform practices and misrepresentations give rise to the controversy.”

In re Checking Account Overdraft Litig., 307 F.R.D. at 645 (citing Amchem Prods., Inc. v.

Windsor, 521 US at 625)); see also In re U.S. Foodserv. Pricing Litig., 729 F.3d 108, 120 (2d. Cir.

2013) (holding that class actions may be reasonably litigated through use of “legitimate inferences

based on the nature of the alleged misrepresentations at issue.”)). In analyzing the predominance

standards, “[c]ases alleging a single course of wrongful conduct are particularly well-suited to

class certification.” Salvagne v. Fairfield Ford, Inc., 264 F.R.D. 321, 329 (S.D. Ohio 2009).

       Plaintiffs provide an analysis of each of the consumer protection laws that Plaintiffs’ seek

to have their respective classes certified under, which is attached hereto as Appendix A. Each of

the ten states’ consumer protection laws serve the same general purpose – to protect consumers

from deceptive or unfair trade practices, such as LuLaRoe’s conduct here. “[C]onsumer class

actions [provide] an indispensable mechanism for aggregating claims when the individual stake is

low and the similarity of the challenged conduct is high.” Reyes, 802 F.3d at 491.

       The only potentially material difference among the ten states’ laws is whether the plaintiffs

and class must show reliance as proof of causation. At least seven of the states—Alaska, Delaware,

Montana, New Hampshire, New Jersey, New York, and Vermont—do not require a plaintiff or a

class to show reliance as either an element of their consumer protection statutes, nor for causation.

(See Appendix A). Additionally, Minnesota has no reliance requirement under its Prevention of

Consumer Fraud Act. (See id.). Hence, there is no individual reliance inquiry that could

theoretically be an impediment to a finding of predominance. No states require reliance as an

element of a claim, and only two states – Oregon, and Pennsylvania – as well as Minnesota’s

Deceptive Trade Practices Act, require a showing of reliance for causation. (See id.) However,




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even in these states, the reliance requirement may be satisfied on a class-wide basis under the facts

of this case, rather than through an individual showing of reliance by class members.

       As one district court explained, “there are at least three situations in which courts typically

find common issues predominate in fraud cases” despite any concerns about individual issues of

reliance:

       “(1) those in which reliance is common across the class; (2) those in which courts
       have excused a showing of individual reliance; and (3) those in which the
       underlying law does not require a showing of individual reliance.” Newberg § 4:58.
       Reliance may be a common issue when the same misrepresentation is made to the
       entire class; some circuits have held that written misrepresentations may be
       common issues while oral misrepresentations are presumed to be individualized.
       See, e.g., Moore v. PaineWebber, Inc., 306 F.3d 1247, 1253 (2d Cir.2002)(“[T]he
       Third, Fourth, Fifth, Sixth, and Seventh Circuits ... have held that oral
       misrepresentations are presumptively individualized.”); In re Prudential Ins. Co.
       Am. Sales Practice Litig. Agent Actions, 148 F.3d 283, 319 (3d Cir.1998)(certifying
       class where alleged misrepresentations were written and uniform); Spencer v.
       Hartford Fin. Servs. Grp., Inc., 256 F.R.D. 284, 297 (D.Conn.2009)(certifying
       class where class definition was narrowed to include only those who had received
       written communications from defendant). The requirement that plaintiffs show
       reliance is most often presumed or excused in so-called fraud-on-the-market
       securities cases, in which class members—investors in the defendant company—
       are presumed to be rational, fully informed actors who use all of the information
       available to the general public, but are also presumed to not possess insider
       information. See Stoneridge Inv. Partners, LLC v. Scientific–Atlanta, 552 U.S. 148,
       159, 128 S.Ct. 761, 169 L.Ed.2d 627 (2008)(citing Affiliated Ute Citizens of Utah
       v. United States, 406 U.S. 128, 153, 92 S.Ct. 1456, 31 L.Ed.2d 741 (1972); Basic
       Inc. v. Levinson, 485 U.S. 224, 245, 108 S.Ct. 978, 99 L.Ed.2d 194 (1988)).

Daye v. Cmty. Fin. Serv. Centers, LLC, 313 F.R.D. 147, 169, n.12 (D. N.M. 2016). The states here

that have no reliance requirement fall squarely within the third exception. Additionally, the states

that have a reliance requirement for causation, fall within the first exception, as explained in more

detail below.

       While some consumer protection actions may not be suitable for class treatment due to the

differences in the levels of reliance by individual class members, consumer protection class actions

are appropriate if the reliance element may be satisfied on a class-wide basis without the need for


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testimonial evidence from the class plaintiffs. See Allen v. Holiday Univ., 249 F.R.D. 166, 193

(E.D. Pa. 2008) (certifying class of individuals under Pennsylvania Unfair Trade Practices and

Consumer Protection Act where class was charged fees in excess of the law and stating class

certification was appropriate because “if proven, the alleged misconduct resulted in a monetary

loss for each person who purchased a health club membership. … [A]n excessive initiation fee that

is paid by a consumer necessarily causes an ascertainable monetary loss[, and since the] alleged

violation is a uniform policy and practice of charging excessive fees, there is no doubt as to

the cause of the ascertainable monetary loss”); Strawn v. Farmers Ins. Co. of Oregon, 258 P.3d

1199, 1212 (Or. 2011), adhered to on reconsideration, 256 P.3d 100 (Or. 2011) (Class-wide

reliance may be inferred from evidence common to the class when, for example, “the

misrepresentation was uniformly made to all class members, as through standardized

documents.”); see also In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d

at 314 (upholding district court’s approval of settlement class where various states’ consumer

protection laws were asserted and the district court held that “reliance is an issue secondary to

establishing the fact of defendant’s liability”); see also Reyes, 802 F.3d 489-90 (overturning

district court’s denial of class certification for a RICO claim because reliance could be shown on

a class-wide basis); see also In re U.S. Foodservice Inc. Pricing Litig., 729 F.3d at 118.

       Exactly analogous to this case, the causation requirement – i.e., that the Plaintiffs and class

members’ injury (or ascertainable loss) result from the Defendant’s unfair or deceptive practice –

was addressed in detail in a recent Pennsylvania state court case where the plaintiff asserted a class

action for conversion, breach of constructive trust, unjust enrichment, and unfair trade practices

based upon the defendant’s “pattern and practice of deceptively overcharging sales tax on the value

of coupons tendered for the purchase of taxable goods.” Farneth v. Wal-Mart Stores, Inc., No.



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GD-13-011472 (Pa. Com. Pl. Ct. March 21, 2017) (Allegheny County, Colville, J.), attached to

Plaintiffs’ Motion for Class Certification as Exh. S. The Farneth court explained that while a

finding of reliance is typically necessary to prevail on an unfair trade practices claim, individual

reliance need not be shown if the “ascertainable losses necessarily flow from the fraud or deceit.”

Id. at p.3; see also Toth v. Nw. Sav. Bank, No. GD-12-008014, 2013 WL 8538695, at *4 (Pa. Com.

Pl. Ct. Mar. 1, 2013) (Allegheny County, Wettick, J.) (“In fraud cases, the requirement that a

plaintiff establish reliance is imposed solely to determine the extent to which (if at all) the plaintiff

or a member of the class was actually harmed by the fraudulent or deceptive conduct. Where, as

in the present case [(alleging consumer protection claims)], a lawsuit is brought only by persons

who were actually harmed by the bank’s deceptive conduct, and who sustained actual losses as a

result of improper overdraft charges, a reliance requirement serves no purpose.”).

        The Toth Court explained that, where there is systematic overcharging of consumers, “[t]he

fraud or deceit is taking the money of plaintiff and the class members without permission.

Plaintiff’s ascertainable losses are the overcharges imposed on plaintiff because of defendant’s

scheme for calculating overdraft fees. Testimony as to reliance is not needed to establish

ascertainable losses.” Toth, No. GD-12-008014, 2013 WL 8538695, at *9. It then went into great

detail related to causation under the consumer protection statute:

                In fraud cases, the requirement that a plaintiff establish reliance is imposed
        solely to determine the extent to which (if at all) the plaintiff or a member of the
        class was actually harmed by the fraudulent or deceptive conduct. Where, as in the
        present case, a lawsuit is brought only by persons who were actually harmed by the
        bank’s deceptive conduct, and who sustained actual losses as a result of improper
        overdraft charges, a reliance requirement serves no purpose.
                The Consumer Protection Law, as written, permits a consumer to bring a
        private action if the consumer has suffered any ascertainable loss of money as the
        result of the use or employment of fraudulent or deceptive conduct. To recover, the
        plaintiff must establish that plaintiff was a victim of a fraud or deceit (Requirement
        One) and that plaintiff suffered an ascertainable loss (Requirement Two).


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        Where the fraud or deceit is a misrepresentation, Requirement One is met if
the plaintiff can show a material misrepresentation and an intent to misrepresent.
However, Requirement Two is not met without a showing justifiable reliance.
        EXAMPLE ONE: The insurance agent advised the customer-a forty-five-
year-old accountant-that if the accountant/customer makes a monthly payment of
$100 until age sixty-five, the accountant will have a fully paid insurance policy that
will provide insurance in the amount of $1 million upon the accountant’s death.
The accountant later learns that at age sixty-five he is guaranteed a fully paid policy
that will pay only $30,000 upon the accountant’s death. The law is not going to
presume that the accountant, at the time he purchased the policy, believed that
payments of $24,000 over a twenty-year period would produce a $1 million
insurance policy. Thus, reliance must be shown to establish an ascertainable loss.
        However, a showing of actual reliance should not be required when
ascertainable losses necessarily flow from the fraud or deceit. Consider the
following examples:
        EXAMPLE TWO: The agreement between the car dealer and the
purchasers permitted the car dealer to add the manufacturer’s transportation fees to
the agreed-upon purchase price. The car dealer pays only $71 to the manufacturer
for transportation fees but charges the purchasers $171 for transportation fees.
Upon a showing that the car dealer is fraudulently overcharging purchasers, each
member of the class of persons who paid the inflated amount should be entitled to
recover the difference between the overcharged amount and the actual costs in
addition to the other relief provided for in Section 9.2 of the Consumer Protection
Law.
        EXAMPLE THREE: A financial advisor places orders on behalf of his
clients with a broker who, at the request of the financial advisor, sends an invoice
to the advisor for a placement fee of $100 for each order. The financial advisor
passes on the fee to the client. The broker, in fact, does not charge placement fees.
Upon proof of the kickback scheme, the clients of the financial advisor should be
entitled to recover the placement fee and the other relief provided for in Section 9.2
of the Consumer Protection Law.
        EXAMPLE FOUR: The contractor of a housing development, who knows
of the requirements of the building code, is, unbeknownst to the purchasers, using
roofing materials that do not comply with code standards. The use of noncomplying
roofing materials was discovered when a fire at one of the dwellings resulted in
every homeowner being required by the building inspector to replace his or her
roof. Each homeowner should be entitled to recover, at a minimum, the cost of
replacing the roof and other relief provided by Section 9.2 of the Consumer
Protection Law upon a showing that the contractor knowingly installed roofs that
did not comply with code standards.
       In Examples Two and Three, the defendants obtained money belonging to
each member of the class as a result of the defendants’ representations and
omissions. Thus, reliance testimony is not needed to establish an ascertainable loss.


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              In Example Four, reliance is not a requirement for establishing that the class
       members sustained an ascertainable loss because the loss flows necessarily from
       proof of the fraud.
               For Examples Two and Three, the Consumer Protection Law should not be
       construed to require the named plaintiffs and class members to offer speculative
       testimony as to whether they would have purchased the car (Example Two) or
       placed orders (Example Three) even if they had known that they would be cheated.
       The inflated transportation fee (Example Two) and charging the client a non-
       existent placement fee (Example Three) are the fraudulent acts, and the
       ascertainable losses are the fraudulent charges.
               For Example Four, if the Pennsylvania courts would require the named
       plaintiff and the class members to offer speculative testimony that they would not
       have purchased the property if told that the roof did not comply with code
       requirements and would need to be replaced, they would be creating reliance
       requirements that are so robust as to almost eliminate class actions based on
       deceptive conduct. Since the Consumer Protection Law never mentions reliance as
       a prerequisite for recovery, this cannot be what the Legislature intended.

Id. at *4-6. Class-wide reliance for causation was also addressed in detail in In re U.S. Foodservice

Inc. Pricing Litig., where the court explained that “fraud claims based on uniform

misrepresentations to all members of a class ‘are appropriate subjects for class certification’

because, unlike fraud claims in which there are material variations in the misrepresentations made

to each class member, uniform misrepresentations create ‘no need for a series of mini-trials.’” 729

F.3d at 118. The court further explained that fraud claims are not beyond the reach of Rule 23

merely because class members must “show causation by establishing reliance on a defendant’s

misrepresentations, provided that individualized issues will not predominate.”           Id. at 119.

Specifically, payment may “constitute circumstantial proof of reliance upon a financial

representation.” Id. (citing Klay v. Humana, Inc., 382 F.3d 1241, 1258 (11th Cir. 2004), abrogated

in part on other grounds by Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008)). The

Second Circuit explained further:

       In cases involving fraudulent overbilling, payment may constitute circumstantial
       proof of reliance based on the reasonable inference that customers who pay the
       amount specified in an inflated invoice would not have done so absent reliance
       upon the invoice’s implicit representation that the invoiced amount was honestly
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       owed. Fraud claims of this type may thus be appropriate candidates for class
       certification because “while each plaintiff must prove reliance, he or she may do so
       through common evidence (that is, through legitimate inferences based on the
       nature of the alleged misrepresentations at issue).”

Id. at 119-20; see also Falise v. Am. Tobacco Co., 94 F. Supp. 2d 316, 335 (E.D.N.Y. 2000)

(“Though reliance is a requirement for establishing causation where predicate acts based in fraud

are alleged, the nature of the reliance is not a constant. Where the fraudulent scheme is limited in

scope and specifically targeted at only one or a few individuals, organizations, or entities, the

establishment of causation should require reliance on identifiable misrepresentations. . . . Where,

however, the fraudulent scheme is targeted broadly at a large proportion of the American public

the requisite showing of reliance is less demanding. Such sophisticated, broad-based fraudulent

schemes by their very nature are likely to be designed to distort the entire body of public

knowledge rather than to individually mislead millions of people.”); see also Fed. R. Civ. P.

23(b)(3) Advisory Committee Notes (“[A] fraud perpetrated on numerous persons by the use of

similar misrepresentations may be an appealing situation for a class action, and it may remain so

despite the need, if liability is found, for separate determination of the damages suffered by

individuals within the class. On the other hand, although having some common core, a fraud case

may be unsuited for treatment as a class action if there was material variation in the representations

made or in the kinds or degrees of reliance by the persons to whom they were addressed.”).

       Here, Plaintiffs do not need to show class-wide reliance in the states in which consumer

protection claims were asserted and the consumer protection claims should be certified in those

states. For the remaining states that have a reliance requirement, reliance may be shown on a class-

wide basis under the instant facts. Plaintiffs and the class members all purchased LuLaRoe

clothing from retailers outside of their state to be shipped into their state. Each Plaintiff and every

class member received an invoice from the retailer that was generated by LuLaRoe’s Audrey

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system. The invoice represented that LuLaRoe was collecting a “tax” on the purchase. Each

Plaintiff and every class member paid the invoice that implicitly represented they were paying a

proper tax when, in fact, no such tax was owed by the Plaintiffs and class members – a fact readily

known by LuLaRoe. As was the situation in In re U.S. Foodservice Inc. Pricing Litig., the payment

of these invoices that included an unlawful tax when no such tax was owed constitutes sufficient

“circumstantial proof of reliance based on the reasonable inference that customers who pay the

amount specified in an inflated invoice would not have done so absent reliance upon the invoice’s

implicit representation that the invoiced amount was honestly owed.” The situation set forth here

is analogous to examples two and three enumerated by the Toth Court, wherein individual reliance

is not required because the ascertainable loss to the Plaintiffs and class members was directly as a

result of LuLaRoe’s conduct: “[LuLaRoe] obtained money belonging to each member of the class

as a result of the [LuLaRoe’s] representations and omissions . . . reliance testimony is not needed.”

       LuLaRoe’s conduct is the exact type of systematic, unfair practice that the consumer

protection statutes were intended to protect against. Plaintiffs seek to have their classes certified

under the consumer protection laws of Alaska, Delaware, Minnesota, Montana, New Hampshire,

New Jersey, New York, Oregon, Pennsylvania, and Vermont. Alternately, Plaintiffs seek to have

their class certified under the consumer protection laws that do not require any proof of reliance –

Alaska, Delaware, Montana, New Hampshire, New Jersey, New York, and Vermont, as well as

Minnesota’s Prevention of Consumer Fraud Act.

                   c. Plaintiffs’ conversion claims satisfy the predominance inquiry

       Plaintiffs seek certification of their conversion claims under ten of the Plaintiffs’ relevant

jurisdictions – Alaska, Massachusetts, Minnesota, Montana, New Hampshire, New Jersey, New




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York, Oregon, Pennsylvania, and Vermont. Plaintiffs provide an analysis of conversion under

each of the class states, which is attached hereto as Appendix B.

       The causes of action for conversion in each of these ten states is substantially similar –

requiring a wrongful exercise of dominion or control over the property of another. (See Appendix

B). Alaska, Massachusetts, Minnesota, Montana, New Hampshire, New Jersey, New York,

Oregon, Pennsylvania, and Vermont courts all specifically permit a claim for conversion of money,

such as is alleged here. (See id.). Delaware does not recognize a claim for conversion of money

and, therefore, Plaintiffs do not seek certification of a conversion cause of action under Delaware

law. (See id.).

       Here, Plaintiffs can prove conversion under each states’ law through the common facts and

the common improper and deceptive conduct of LuLaRoe, which is uniform toward the Plaintiffs

and the class members. LuLaRoe stole money from the Plaintiffs and class members under the

guise of a “tax” when there was no such tax. LuLaRoe knew it was not entitled to take those funds

from the Plaintiffs and class members, but did so, and dispossessed the Plaintiffs and class

members from those funds. Plaintiffs’ and the class members’ possessory interest in the “tax”

payments was substantially interfered with by LuLaRoe’s knowing, unlawful conduct.

       Plaintiffs seek to certify their claim for conversion under the Alaska, Massachusetts,

Minnesota, Montana, New Hampshire, New Jersey, New York, Oregon, Pennsylvania, and

Vermont laws.

                   d. Plaintiffs’ contract-based claims satisfy the predominance inquiry

       Plaintiffs also bring claims for unjust enrichment and for breach of constructive trust under

all eleven of the Plaintiffs’ relevant jurisdictions – Alaska, Delaware, Massachusetts, Minnesota,

Montana, New Hampshire, New Jersey, New York, Oregon, Pennsylvania, and Vermont. Plaintiffs



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provide a survey of unjust enrichment, attached hereto as Appendix C, and breach of constructive

trust, attached hereto as Appendix D, under each of the class states. Based upon the facts of the

First Amended Complaint, there are no material state law differences among either claim which

require individualized determinations such that certification is “insuperable.” In re Sch. Asbestos

Litig., 789 F.2d 996, 1010 (3d Cir.1986).

       While the laws of the states governing unjust enrichment are expressed in varying words,

there are few real differences. (See Appendix C). Most states have simply adopted a variation of

the definition of unjust enrichment in Restatement (First) of Restitution § 1, which provides that a

party may be required to make restitution if she is unjustly enriched at the expense of another. (See

id.). To this end, in each state, the focus of the claim is whether the defendant was unjustly

enriched. (See id.). Indeed, “[i]n looking at claims for unjust enrichment, we must keep in mind

that the very nature of such claims requires a focus on the gains of the defendants, not the losses

of the plaintiffs. That is a universal thread throughout all common law causes of action for unjust

enrichment.” In re Abbott Laboratories Norvir Anti-Tr. Litig., 2007 WL 1689899, at *9 (N.D.

Cal. June 11, 2007) (“In re Abbott Labs”). “The ‘idiosyncratic differences’ between state unjust

enrichment laws ‘are not sufficiently substantive to predominate over the shared claims.’” Id.

(quoting Hanlon, 150 F.3d at 1022). In light of this “common thread,” courts abound have certified

multistate and nationwide classes for unjust enrichment. See e.g. In re Flonase Antitrust Litig. 284

F.R.D. 207 (E.D. Pa. 2012) (proof of liability on unjust enrichment claims under numerous state

laws could be determined on class-wide basis – with regard to proving liability, the evidence would

be the same for each class member); O’Brien v. Brain Research Labs, Inc., 2012 WL 3242365 at

*6 (D.N.J. Aug. 8, 2012) (“(1) the laws of the fifty states are relatively uniform with respect to the

elements of proof of an unjust enrichment claim; and (2) those elements of proof require little, if



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any, individualized inquiry.”); Dal Ponte v. American Mortg. Exp. Corp., 2006 WL 2403982, *8

(D.N.J. 2006) (certifying nationwide class for New Jersey Consumer Protection Act and unjust

enrichment claims). These courts concluded the minor differences bearing on unjust enrichment

did not defeat predominance.

       Nor does Plaintiffs’ claim for breach of constructive trust materially differ across state

jurisdictions. (See Appendix D). Justice Cardozo wrote famously, “[a] constructive trust is the

formula through which the conscience of equity finds expression. When property has been

acquired in such circumstances that the holder of the legal title may not in good conscience retain

the beneficial interest, equity converts him into a trustee.” Beatty v. Guggenheim Exploration Co.,

225 N.Y. 380, 286 (1918). Courts today apply this equitable doctrine with some flexibility. In

general, “to establish a constructive trust there must be provided: (1) a confidential or fiduciary

relation, (2) a promise, express or implied, (3) a transfer made in reliance on that promise, and (4)

unjust enrichment.” Petrello v. White, 412 F. Supp. 2d 215, 232 (E.D.N.Y. 2006), aff’d, 344 Fed.

Appx. 651 (2d Cir. 2009) (unpublished). “That being said, ‘strict adherence to the confidential or

fiduciary relationship element of a constructive trust is not necessary when a party holds property

under circumstances that in equity and good conscience he ought not retain.’” Id. (quoting Sec.

Pacific Mortg. & Real Estate Services, Inc. v. Republic of Philippines, 962 F.2d 204, 210 (2d

Cir.1992)). As a result, courts may find a breach even where no fiduciary relationship exists.

Koreag, Controle Et Revision S.A. v. Refco F/X Assoc., Inc. (In re Koreag, Controle Et Revision

S.A.), 961 F.2d 341, 354 (2d Cir.1992) (holding that the lack of a fiduciary relationship between

the parties does not automatically defeat the claimant’s claim for a constructive trust). Like

Plaintiffs’ claim for unjust enrichment, their claim for breach of constructive trust does not defeat

predominance. Ellsworth v. U.S. Bank, N.A., 2014 WL 2734953, *24-25 (N.D. Cal. June 13, 2014)



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(the difference in state contract laws are immaterial – “variations in state contract law do not defeat

predominance”).

       Plaintiffs will prove their unjust enrichment and breach of constructive trust claims with

common evidence. First, Plaintiffs will demonstrate they and the class members conferred a

benefit on LuLaRoe which was unjust—paying surcharges disguised as tax they did not owe. This

evidence will include LuLaRoe’s 2016 Tax Policy and subsequent changes to it, its contracts with

ControlPad and the management of Audrey, the testimony of LuLaRoe’s CEO, Mark Stidham,

and others. It will also include evidence that LuLaRoe specifically recognized it was collecting

additional monies from Plaintiffs and the class members in the guise of taxes that did not exist.

Thus, Plaintiffs can show with common evidence that LuLaRoe appreciated that benefit. Second,

Plaintiffs will show that LuLaRoe’s retention of that benefit is unjust. That evidence will include

evidence that LuLaRoe knowingly devised and maintained the scheme at the expense of the class

members, that LuLaRoe recognized its charges were not in their best interests, and evidence that,

despite all of this, LuLaRoe reaped significant benefits from its conduct. (See Section (II)(I),

above). Because this common evidence spans every class, Plaintiffs seek to certify their claims

for unjust enrichment and for breach of constructive trust under the laws of Alaska, Delaware,

Massachusetts, Minnesota, Montana, New Hampshire, New Jersey, New York, Oregon,

Pennsylvania, and Vermont.

                   e. Damages can be determined on a class-wide basis

       Plaintiffs must show that common issues predominate with respect to their ability to prove

measurable damages. In re Mushroom Direct Purchaser Antitrust Litig., 319 F.R.D. at 188.

However, the fact that there are variations in the remedies available to an injured class under

various states’ laws does not defeat predominance. Sullivan, 667 F.3d at 301. Predominance is



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not lost merely because “certain class members may be eligible for treble damages or punitive

damages” under their respective states’ laws, while other class member may be limited to actual

damages – material variations in state law remedies can be accounted for in the calculation of

damages.       In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 530 (3d Cir. 2004); see also

Mullins, No. 13 CV 1829, 2014 WL 5461903 at *3 (predominance is satisfied when “Plaintiff’s

theory of damages – a full refund and statutory consumer fraud fines – matches his theory of

liability”).

Here, damages can be calculated based on common methodology. LuLaRoe has already identified

each transaction, and the corresponding consumer (i.e., class member) for each transaction, in

which it unlawfully charged a “tax.” LuLaRoe’s actions caused surcharges on more than 2.5

million transactions totaling over $8.3 million. Plaintiffs, for themselves and the class members,

seek (1) a refund of all “taxes” unlawfully collected; (2) an accounting of those “taxes” unlawfully

collected; and (3) any statutory, exemplary, and punitive damages allowed by law. Like in In re

Warfarin Sodium Antitrust Litig., the differences in state laws with respect to statutory damages

and/or punitive damages can be easily accounted for in the calculation of damages. Indeed, the

damage calculation, here, amounts to simple mathematics Predominance is satisfied because the

claims of the Plaintiffs and putative class arise from the same unlawful practice and policy.

LuLaRoe uniformly overcharged all persons who reside in the class jurisdictions that should not

have been assessed use tax on the products they purchased from LuLaRoe. If Plaintiffs can prove

this uniform practice is illegal under the claims asserted, and discussed above, they and each class

member are entitled to recovery. Because liability and damages can be proven on a class-wide

basis, predominance is satisfied in this case.




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            2. Superiority

        Rule 23(b)(3) requires that class treatment be “superior to other available methods for fairly

and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). “[I]t provides a non-

exhaustive list of factors to consider in determining superiority, including: the class members’

interest in individually controlling the prosecution of separate actions; the extent and nature of any

similar litigation already commenced by class members; the desirability of concentrating the

litigation in a particular forum; and the difficulties likely to be encountered in the management of

a class action.” CBNV III, 795 F.3d at 408-09 (citing Fed. R. Civ. P. 23(b)(3)). “The superiority

requirement asks a district court to balance, in terms of fairness and efficiency, the merits of a class

action against those of alternative available methods of adjudication.” Id. at 409. The Federal

Rules of Civil Procedure directs courts to weigh the following factors to determine whether a class

action is superior to other alternative methods of adjudication: “(A) the class members’ interests

in individually controlling the prosecution or defense of separate actions; (B) the extent and nature

of any litigation concerning the controversy already begun by or against members of the class; (C)

the desirability or undesirability of concentrating the litigation of the claims in the particular

forum; and (D) the likely difficulties in managing a class action.” Fed. R. Civ. P. 23 (b)(3)(A)-

(D). In light of these factors, this Court should find that class action treatment is more appropriate

in this case.

           Here, the above-stated factors strongly support class certification. First, the Class

members do not have a palpable interest in individually controlling the prosecution of separate

actions, given the small value of possible recovery, these class members would lack the incentive

to bring individual suits against Defendant. See Lake v. First Nationwide Bank, 156 F.R.D. 615,

626 (E.D. Pa. 1994) (“Given the relatively small amount recoverable by each potential litigant, it



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is unlikely that, absent the class action mechanism, any one individual would pursue his claim, or

even be able to retain an attorney willing to bring the action.”).

        Plaintiffs’ counsel are not aware of any other pending litigation concerning the controversy

at issue. In addition, a class action lawsuit is desirable in this case because it would promote

judicial economy in that the court could address the claims of all class members for the eleven

effected states with consistency, in one action. Last, no apparent difficulties are evident in

managing this lawsuit as a class action, as is discussed more fully below. In fact, as described

above, other courts have granted class certification for similar claims in the past. In terms of

fairness and efficiency, a class action lawsuit is unquestionably the superior vehicle for litigating

this case.

             3. Manageability

        It is well settled that manageability is rarely an adequate basis to deny class certification.

See, e.g., In re Plastics Additives Antitrust Litig., No. 03-cv-2038, 2006 WL 6172035, at *13 (E.D.

Pa. Aug. 31, 2006) (“[D]enying certification on the sole ground of the unmanageability of the

action, at least at the class certification stage, is ‘disfavored.’”); In re Visa Check/MasterMoney

Antitrust Litig., 280 F.3d 124, 140 (2d Cir. 2001) (“[F]ailure to certify an action under Rule

23(b)(3) on the sole ground that it would be unmanageable is disfavored and ‘should be the

exception rather than the rule.’”).

        As the Third Circuit recently recognized, “Rule 23(d) vests in the [District] Court

substantial discretion to enter orders, subsequent to the Order Certifying the Class … to manage

the class,” and “there are imaginative solutions to problems created by the presence in a class

action litigation of individual damages.” CBNV III, 795 F.3d at 410; see also Carnegie v.

Household Intern., Inc., 376 F.3d 656, 661 (7th Cir. 2004) (detailing myriad ways to manage class



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actions); Zeno v. Ford Motor Co., Inc., 238 F.R.D. 173, 196 (W.D. Pa. 2006) (similar); Meyer v.

CUNA Mut. Group, CIV.A. 03-602, 2006 WL 197122, at *22 (W.D. Pa. Jan. 25, 2006) (similar);

Mednick v. Precor, Inc., 320 F.R.D. 140, 156-7 (N.D. Ill. 2017) (finding that differences among

four states’ consumer protection laws in manageable although allowable recoveries differ across

the states).

        Plaintiffs have submitted a Proposed Trial Plan with their Motion for Class Certification.

A class action is both manageable and manifestly superior to the litigation of the claims at issue in

individual civil actions. Managing the individual claims of Plaintiffs and the putative members of

the classes in a single action will further judicial economy and efficiency, and lead to the just and

timely resolution of the claims of a myriad of similarly situated individuals.

        C. Rule 23(g) Appointment of Class Counsel is Warranted

        “A court that certifies a class must appoint class counsel.” Fed. R. Civ. P. 23(g). In

appointing class counsel, the court must consider: “(i) the work counsel has done in identifying or

investigating potential claims in the action; (ii) counsel’s experience in handling class actions,

other complex litigation, and the types of claims asserted in the action; (iii) counsel’s knowledge

of the applicable law; and (iv) the resources that counsel will commit to representing the

class.” Fed. R. Civ. P. 23(g)(1).

           Plaintiffs propose R. Bruce Carlson and Kevin W. Tucker of Carlson Lynch Sweet

Kilpela & Carpenter, LLP and Kelly K. Iverson of Cohen & Grigsby, P.C. as Co-Lead Class

Counsel. Each of these attorneys has diligently investigated and pursued the claims in this

litigation. Collectively, counsel has extensive experience managing and litigating complex cases

and class/collective actions such as this one. Counsel are well-versed in the applicable

law. Finally, counsel’s willingness to expend resources in the cause of this case is amply



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demonstrated by counsels’ involvement in the discovery to date, which included ten depositions

of named Plaintiffs, which occurred in four different states and depositions of representatives of

Defendant, which occurred in California and Idaho; the production of nearly 3,000 pages of

documents from Plaintiffs; and management of LuLaRoe’s consistent effort to avoid its discovery

obligations. Accordingly, Rule 23(g) is satisfied.

                                       V.      CONCLUSION

         For the above stated reasons, Plaintiffs respectfully request that this honorable Court certify

the following classes under Fed. R. Civ. P. 23, for the specified claims, and designate the respective

class representative to represent the class:

 State               Class Description                          Claims to be             Class
                                                                Certified                Representative
 Pennsylvania        All persons who were assessed tax on       Consumer                 Rachael
                     clothing purchases processed through       Protection;              Webster
                     Audrey, and whose purchases were           Conversion; Unjust
                     delivered into Pennsylvania                Enrichment;
                                                                Constructive Trust
 New York            All persons who were assessed tax on       Consumer                 Lauren Porsch
                     clothing purchases processed through       Protection;
                     Audrey, and whose purchases were           Conversion; Unjust
                     delivered into New York                    Enrichment;
                                                                Constructive Trust
 Minnesota           All persons who were assessed tax on       Consumer                 Holly Lederer
                     clothing purchases processed through       Protection;
                     Audrey, and whose purchases were           Conversion; Unjust
                     delivered into Minnesota                   Enrichment;
                                                                Constructive Trust
 New                 All persons who were assessed tax on       Consumer                 Sara Gates
 Hampshire           clothing purchases processed through       Protection;
                     Audrey, and whose purchases were           Conversion; Unjust
                     delivered into New York                    Enrichment;
                                                                Constructive Trust
 Delaware            All persons who were assessed tax on       Consumer                 Donna
                     clothing purchases processed through       Protection; Unjust       Newman
                     Audrey, and whose purchases were           Enrichment;
                     delivered into Delaware                    Constructive Trust
 Alaska              All persons who were assessed tax on       Consumer                 Katie Van
                     clothing purchases processed through       Protection;

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                Audrey, and whose purchases were       Conversion; Unjust
                delivered into Alaska                  Enrichment;
                                                       Constructive Trust
Oregon          All persons who were assessed tax on   Consumer             Maureen
                clothing purchases processed through   Protection;          McGuinness
                Audrey, and whose purchases were       Conversion; Unjust
                delivered into Oregon                  Enrichment;
                                                       Constructive Trust
Montana         All persons who were assessed tax on   Consumer             Melissa Hill
                clothing purchases processed through   Protection;
                Audrey, and whose purchases were       Conversion; Unjust
                delivered into Montana                 Enrichment;
                                                       Constructive Trust
New Jersey      All persons who were assessed tax on   Consumer             Lorraine
                clothing purchases processed through   Protection;          Snodgrass
                Audrey, and whose purchases were       Conversion; Unjust
                delivered into New Jersey              Enrichment;
                                                       Constructive Trust
Massachusetts   All persons who were assessed tax on   Conversion; Unjust   Alison
                clothing purchases processed through   Enrichment;          Whitehead
                Audrey, and whose purchases were       Constructive Trust
                delivered into Massachusetts
Vermont         All persons who were assessed tax on   Consumer             Amanda Close
                clothing purchases processed through   Protection;
                Audrey, and whose purchases were       Conversion; Unjust
                delivered into Vermont                 Enrichment;
                                                       Constructive Trust




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Dated: December 6, 2017                  Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed with the Clerk of

Court using the CM/ECF system, which will serve all counsel of record via a notification of

electronic filing (NEF) on this December 6, 2017.



                                                    /s/ R. Bruce Carlson
                                                    R. Bruce Carlson




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